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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
_______________________________________
                                        )
ELECTRONIC PRIVACY INFORMATION )
CENTER,                                 )
                                        )
                  Plaintiff,            )
                                        )
      v.                               )     Civil Action No. 19-810 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE,                               )
                                       )
                  Defendant.           )
_______________________________________)
                                       )
JASON LEOPOLD &                        )
BUZZFEED, INC.,                        )
                                       )
                  Plaintiffs,          )
                                       )
      v.                               )     Civil Action No. 19-957 (RBW)
                                       )
UNITED STATES DEPARTMENT OF            )
JUSTICE, et al.,                        )
                                        )
                  Defendants.          )
_______________________________________)

                                             ORDER

       On March 5, 2020, the Court ordered “the United States Department of Justice [(the

‘Department’)] [to] submit the unredacted version of the [report prepared by Special Counsel

Robert S. Mueller III regarding his investigation into Russian interference in the 2016 United

States presidential election (the ‘Mueller Report’)] to the Court for its in camera review” on or

before March 30, 2020. Order (Mar. 5, 2020), ECF No. 112; see also Elec. Privacy Info. Ctr. v.

U.S. Dep’t of Justice, Civ. Action No. 19-810 (RBW), 2020 WL 1060633, at *10 (D.D.C. Mar.
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5, 2020). On March 30, 2020, “the Court [ ] received the unredacted version of the [Mueller]

[R]eport” from the Department. Minute Notice (Mar. 30, 2020).

        Having reviewed the unredacted version of the Mueller Report, the Court cannot assess

the merits of certain redactions without further representations from the Department. However,

because the Court must discuss the substance of the redactions with the Department, and because

such a discussion cannot occur remotely due to the lack of a secure connection between the

Court and the Department necessary to avoid disclosure of the redacted information, and in light

of Chief Judge Howell’s May 26, 2020 Order, In re: Further Extension of Postponed Court

Proceedings in Standing Order 20-9 and Limiting Court Operations in Exigent Circumstances

Created by the COVID-19 Pandemic, Standing Order No. 20-29 (BAH), it is hereby

        ORDERED that the status conference currently scheduled for June 18, 2020, is

VACATED. It is further

        ORDERED that, on July 20, 2020, at 9:30 a.m., 1 the Department shall appear before the

Court for an ex parte hearing to address the Court’s questions regarding certain redactions of the

Mueller Report. 2

        SO ORDERED this 8th day of June, 2020.


                                                                       REGGIE B. WALTON
                                                                       United States District Judge




1
 The Department shall be prepared to appear before the Court for a continuation of the July 20, 2020 ex parte
hearing on July 21, 2020, and July 22, 2020, if necessary.
2
 The Court will advise the Department as to the topics that the Department should be prepared to discuss at the July
20, 2020 ex parte hearing at a later date.

                                                         2
